Case 2:19-cv-02802-RSWL-SS Document 10 Filed 04/17/19

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333 SOUTH GRAND AVENUE
LOS ANGELES, CA 90071
ATTORNEY FOR Plaintiff

ATTORNEY OR PARTY WITHOUT ATTORNEY (Name and Address) TELEPHONE NUMBER
Abirami Gnanadesigan SBN 263375 (213) 457-1800
DYKEMA GOSSETT LLP

 

First Street Federal Courthouse Los Angeles
350 W ‘st Street
Los Angeles, CA 90012

 

SHORT TITLE OF CASE:
TNG Worldwide Inc. v. Beauticom Inc.

FOR COURT USE ONLY

 

DATE: TIME: DEP./DIV.

CASE NUMBER:
2:19-cv-02802 RSWL (SSx)

 

Declaration of Service

 

 

Ref. No. or File No:
063077-000001

 

United States District Court

| certify that | am authorized to serve the Summons and Complaint in the within action pursuant to F.R.Civ.P 4(c) and that | served the:

Summons; Complaint; Civil Cover Sheet; Notice of Interested Parties; Corporate Disclosure Statement; Notice of Assignment to

United States Judges; Notice to parties of Court Directed ADR Program;

On: BEAUTICOM, INC., a California Corporation, Cherng C. Hua- Agent for Service

By Serving Cherng C. Hua, President, Agent for Service
| served the above listed documents in accordance with FRCP 4(h) or CCP 415.20(a)

at: 5525 Peck Rd Arcadia, CA 91006

On: 4/15/2019 Date: 01:55 PM

In the above mentioned action by serving to and leaving with

Mike L. (Gender: M Age: 40 Height: 6’0 Weight: 195 Race: Asian Hair: Black Other: )
Manager

A declaration of diligence and/or mailing is attached if applicable.

Person attempting service:

a. Name: Juan J. Medina

b. Address: 1545 Wilshire Blvd. Suite 311, Los Angeles, CA 90017
c. Telephone number: 213-628-6338

d. The fee for this service was: 169.50

| declare under penalty of perjury under the laws of the United States of America that the foregoing information contained in the return of

service and statement of fees is true and correct.

 

LEGAL SUPPORT SERVICE

Tj JANNEY & JANNEY

 

 

Juan J. Medina

Date: 04/17/2019

 

Declaration of Service

Invoice #: 2633634

 
Case 2:19-cv-02802-RSWL-SS Document 10 Filed 04/17/19 Page 2of2 Page ID #:37

 

ATTORNEY OR PARTY WITHOUT ATTORNEY (Name and Address) TELEPHONE NUMBER FOR COURT USE ONLY
Abirami Gnanadesigan SBN 263375 (213) 457-1800
DYKEMA GOSSETT LLP

333 SOUTH GRAND AVENUE
LOS ANGELES, CA 90071
ATTORNEY FOR Plaintiff

 

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TNG Worldwide Inc. v. Beauticom Inc.

 

DATE: TIME: DEP./DIV. CASE NUMBER:
2:19-cv-02802 RSWL (SSx)

 

Declaration of Service by Mail Ref. No. or File No:
063077-000001

 

 

 

 

United States District Court

|, the undersigned, declare under penalty of perjury that | was on the date herein referred to over the age of 21 years andnot a party to the
within entitled action.

On 04/16/2019, | served the within:

Summons; Complaint; Civil Cover Sheet; Notice of Interested Parties; Corporate Disclosure Statement; Notice of Assignment to
United States Judges; Notice to parties of Court Directed ADR Program;

On the defendant, in said action by placing a true copy thereof enclosed in a sealed envelope with postage thereon pre-paid for first class
in the United States mail at: Los Angeles, California, addressed as follows:

BEAUTICOM, INC., a California Corporation, Cherng C. Hua- Agent for Service
5525 Peck Rd Arcadia, CA 91006

Declarant:

a. Name: Anneliese Acosta

b. Address: 1545 Wilshire Blvd. Suite 311, Los Angeles, CA 90017
c. Telephone number: 213-628-6338

d. The fee for this service was: 169.50

| declare under penalty of perjury under the laws of the United States of America that the foregoing information contained in the return of
service and statement of fees is true and correct.

 

 

LEGAL SUPPORT SERVICE

Tj JANNEY & JANNEY

 

Anneliese Acosta Date: 04/16/2019

 

Declaration of Service by Mail Invoice #: 2633634
